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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

THE UNITED STATES OF AMERICA §
                             §
vs.                          §                       CAUSE NO.: 1:22-CR-15
                             §
ELMER STEWART RHODES, III    §


ORDER: ON DEFENSE REQUEST TO EXTEND BY 30 DAYS THE DEADLINE
               FOR FILING RULE 12 (b) MOTIONS



        On the ________ day of ___________, 2022 came for consideration Defense

Request to Extend by 30 Days the Deadlines for Filing Rule 12(b) Motions in the above

entitled and numbered cause. The Court, after considering this motion, any response, and

the evidence filed in support of the motion and response, is of the opinion that said motion

should, in all things be:


[]      GRANTED.


[]      DENIED.


[]      SET FOR HEARING on the _______day of ___________, 2022.




ORDER                                                                           SOLO PAGE
